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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

PRISCILLA ORTEGA,                                   §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §                    EP-10-CA-395-FM
                                                    §
MONARCH RECOVERY                                    §
MANAGEMENT, INC. f/k/a ACADEMY                      §
COLLECTION SERVICES, INC.,                          §
                                                    §
        Defendant.                                  §

                       ORDER ENTERING STIPULATION OF DISMISSAL

        On this day, the Court considered Defendant Monarch Recovery Management, Inc. f/k/a

Academy Collection Services, Inc.’s (“Monarch”) “Stipulation of Dismissal with Prejudice” [ECF No.

9], filed March 17, 2011. Monarch requests the Court to enter an order dismissing all claims in this case

with prejudice, with each party to bear its own costs. The parties’ attorneys having signed the Stipulation

of Dismissal, indicating the parties’ consent to dismiss the above-captioned case, the Court accordingly

enters the following Orders:

        1.      This case is DISMISSED WITH PREJUDICE pursuant to Federal Rule of Civil

                Procedure 41(a)(1)(A)(ii).

        2.      All pending motions, if any, are DENIED as MOOT.

        3.      Each party SHALL bear its own costs and attorneys’ fees.

        4.      The Clerk of the Court is instructed to CLOSE this case.

        SO ORDERED.

        SIGNED this 21st day of March, 2011.



                                                         ______________________________________
                                                         FRANK MONTALVO
                                                         UNITED STATES DISTRICT JUDGE
